2-6   5HYLVHG86'&0$
                        Case 1:20-mj-04109-DHH Document 1-2 Filed 06/16/20 Page 1 of 2
Criminal Case Cover Sheet                                                                   U.S. District Court - District of Massachusetts

Place of Offense:                             Category No.         II                      Investigating Agency        FBI

City       West Dennis
                                                        Related Case Information:

County         Barnstable                                6XSHUVHGLQJ,QG,QI                       &DVH1R
                                                         6DPH'HIHQGDQW                       1HZ'HIHQGDQW
                                                         0DJLVWUDWH-XGJH&DVH1XPEHU
                                                         6HDUFK:DUUDQW&DVH1XPEHU
                                                         55IURP'LVWULFWRI   Eastern District of Pennsylvania

Defendant Information:

'HIHQGDQW1DPH           Peter Fratus                                                -XYHQLOH                  G <HV G
                                                                                                                       ✔ 1R

                                                                                                                     ✔
                         ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDUG<HVG1R
$OLDV1DPH
$GGUHVV                   &LW\ 6WDWH West Dennis, MA
                      1981
%LUWKGDWH <URQO\ BBBBB661          5235
                                  ODVW BBBBBBBB     M
                                                   6H[BBBBB                          Caucasian
                                                                               5DFHBBBBBBBBBBB           1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                     Brendan Kelley                               $GGUHVV Federal Public Defender's Office,

Bar Number                                                                                           51 Sleeper St #5, Boston, MA 02210

U.S. Attorney Information:

AUSA          Elianna J. Nuzum                                              %DU1XPEHULIDSSOLFDEOH

Interpreter:               G <HV         ✔ 1R
                                         G                       /LVWODQJXDJHDQGRUGLDOHFW

Victims:                  ✔
                          G<HVG1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                  G <HV      X 1R
                                                                                                                                  

Matter to be SEALED:                     G <HV          G✔    1R

          G:DUUDQW5HTXHVWHG                            G5HJXODU3URFHVV                        ✔
                                                                                                      G,Q&XVWRG\

Location Status:

Arrest Date                     06/16/2020

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                           LQ                                        
G $OUHDG\LQ6WDWH&XVWRG\DW                                            G6HUYLQJ6HQWHQFH         G$ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH 2UGHUHGE\                                                         RQ

Charging Document:                       ✔
                                         G&RPSODLQW                 G,QIRUPDWLRQ                   G,QGLFWPHQW
                                                                                                                          1
Total # of Counts:                       G3HWW\                    G0LVGHPHDQRU                   ✔
                                                                                                           G)HORQ\

                                                  &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH      06/16/2020                              6LJQDWXUHRI$86$
                         Case 1:20-mj-04109-DHH Document 1-2 Filed 06/16/20 Page 2 of 2
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 Peter Fratus

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged       Count Numbers

6HW     18 USC § 875(c)                               Interstate Threatening Communications           1


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
